                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE


RHONDA SAUNDERS                              )
                                             )
v.                                           )            NO. 2:05-cv-39
                                             )            (Cr: 2:02-CR-23)
UNITED STATES OF AMERICA                     )             Jordan/Inman


                               MEMORANDUM OPINION


              Rhonda Saunders has filed a pro se motion to vacate, set aside or correct

sentence under 28 U.S.C. § 2255. In April of 2004, the petitioner pled guilty to and was

convicted of one count of conspiracy to distribute and possession with the intent to distribute

more than 50 grams of cocaine base (crack), in violation of 21 U.S.C. § § 846 and 841(a)(1).

For this offense, she was sentenced to a 120-month term of imprisonment, to five years of

supervised release, and to pay a $100 assessment. She did not seek direct review in the

United States Court of Appeals for the Sixth Circuit.

              The petitioner now brings this § 2255 motion to vacate, asserting, as her sole

ground for relief, that her sentence was enhanced on the basis of a judge-made finding that

500 grams of crack cocaine were involved in the offense of conviction—an amount of drugs

which represented a ten-fold increase over the 50 grams charged in the indictment—and that

this violated her right to a jury trial as guaranteed by the Fifth and Sixth Amendments to the

United States Constitution. She bases her allegations of a constitutional infringement upon

the holding in United States v. Booker,     U.S.    , 125 S.Ct. 738, 160 L.Ed.2d 621 (2005),


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one of a series of cases following Apprendi v. New Jersey, 530 U.S. 466 (2000), which

includes Blakely v. Washington,               U.S.     , 124 S.Ct. 2531, 159 L.Ed.2d 403 (2004).1

However, for the reasons stated below, the United States Attorney will not be required to file

an answer or other pleading to the motion, and the motion will be DENIED.

                   As a general rule, a petitioner seeking § 2255 relief may not rely on new rules

of criminal procedure announced after her conviction has become final on direct appeal.

Schriro v. Summerlin,            U.S.     ,     , 124 S.Ct. 2519, 2523, 159 L.Ed.2d 442 (2004).

Indeed, the Sixth Circuit has held that Booker does not apply retroactively to cases on

collateral review. See Humphress v. United States, 398 F.3d 855, 860 (6th Cir.2005).2

          Here, the petitioner’s order of judgment was entered on the Court’s docket on April

30, 2004. The petitioner took no appeal and, thus, her conviction became final 10 days later

(i.e., on May 10, 2004), when the time for filing a notice of appeal expired. See Fed. R. App.

P. 4(b). Booker was decided on January 12, 2005. Therefore, her Booker-based claim (that

her Guidelines sentence enhancement violated her right to a jury determination of the drug


          1
         Apprendi v. New Jersey, 530 U.S. 466 (2000), holds that "other than the fact of a prior
conviction, any fact that increases the penalty for a crime beyond the prescribed statutory
maximum must be submitted to a jury, and proved beyond a reasonable doubt." Id. at 490. In
Blakely, the Supreme Court held that the state court ran afoul of Apprendi and violated a
defendant's Sixth Amendment right to a trial by jury by imposing, under the state’s sentencing
scheme, a 90-month sentence, based on a judge’s determination that the offender had acted with
"deliberate cruelty," where the facts admitted in his guilty plea, standing alone, supported a
maximum sentence of 53 months. Booker applied the Blakely reasoning to the Federal
Sentencing Guidelines.
          2
              The petitioner’s Blakely arguments are controlled by Booker. See Humphress, 398 F.3d
at 859.

                                                      2


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amount) cannot be considered in her § 2255 motion because the Booker rule does not apply

retrospectively to cases on collateral review.3

               Moreover, even if the Court could take these Booker arguments into account,

they would not furnish the petitioner any basis for relief. This is so because she stipulated

in the agreed factual basis, which she signed and which was incorporated into her signed plea

agreement, that the conspiracy involved 500 grams of cocaine base. (Docs. 29 and 30 in

Criminal Case No. 2:02-cr-23). Moreover, at sentencing, the petitioner averred that she had

read the plea agreement and the agreed factual basis which had been filed by the Government

as its statement of the case and that the documents were accurate and true. Since the

petitioner admitted that the offense for which she was convicted involved 500 grams of

cocaine base, imposing a sentence on the basis of this quantity of cocaine comports with the

Booker ruling and does not violate her right to a jury. See Booker, 125 S.Ct. at 756 (“Any

fact [other than a prior conviction] which is necessary to support a sentence exceeding the

maximum authorized by the facts established by a plea of guilty or a jury verdict must be

admitted by the defendant or proved to a jury beyond a reasonable doubt.”) (italics added).



       3
         Though the Apprendi rule is not retroactive either, see Goode v. United States, 305 F.3d
378, 385 (6th Cir.2002), any asserted right based on Apprendi would involve an issue of
procedural default (or waiver)—not retroactivity. This is so because the 2000 decision in
Apprendi preceded the petitioner’s 2004 conviction, (Doc. 82 in Criminal Case No. 2:02-cr-23),
and because Appendi-based claims raised on collateral review but not offered at sentencing or on
appeal, generally, are procedurally defaulted. Elzy v. United States, 205 F.3d 882, 884 (6th Cir.
2000) (requiring a petitioner who had failed to raise an issue at sentencing or on appeal to show
cause and prejudice for his double default).


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           An order will enter in accordance with this opinion.



                                                    ENTER:



                                                              s/ Leon Jordan
                                                         United States District Judge




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